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                                                                          Friday, 05 April, 2013 03:15:32 PM
                                                                               Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION




UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )         Case No. 12-CR-20008
       v.                                     )
                                              )
NOE SANCHEZ, a.k.a.                           )
EPIMENIO SANCHEZ GONZALES                     )
     and                                      )
MANUEL GONZALES,                              )
                                              )
       Defendants.                            )
                                              )



                                            OPINION

       This case is before the court for a ruling on the Government’s Notice of Conflict of

Interest and Request for a Hearing (#28). The Government’s request for a hearing is GRANTED.

Insofar as the Government’s request may be construed as a Motion to Disqualify or a Motion to

Sever, those requests are DENIED as premature.



                                           Background

       On January 19, 2012, Defendants Noe Sanchez and Manuel Gonzales were indicted on

one count each of (1) conspiracy to manufacture and possess 1,000 or more marijuana plants,

with the intent to distribute, in violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(A)(vii); (2)

possession of 1,000 or more marijuana plants, with intent to distribute, in violation of 21 U.S.C.

§ 841(a)(1) & (b)(l)(A)(vii); (3) knowingly possessing a firearm while being aliens, illegally and



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unlawfully in the United States, in violation of 18 U.S.C. § 922(g)(5); and (4) knowingly

possessing a firearm during and in furtherance of a drug trafficking crime, in violation of 18

U.S.C. § 924(c)(1)(A). Further, Defendant Noe Sanchez was also individually indicted on one

count of being an alien previously deported from the United States, subsequent to a conviction

for commission of an aggravated felony, found in the United States having intentionally entered

the United States and not having obtained the express consent of the Attorney General or the

Secretary of Homeland Security to reapply for admission, in violation of 8 U.S.C. § 1326(a) and

(b)(2).

          On January 26, 2012, Magistrate Judge David G. Bernthal held a hearing with Defendant

Sanchez and Defendant Gonzales present. The court found both defendants qualified for court-

appointed counsel. AFPD John Taylor was appointed lead counsel, and CJA counsel Elisabeth

Pollock was appointed for Defendant Gonzales. On July 17, 2012, Attorney Pollock filed a

motion to withdraw. Attorney Pollock previously was in private practice, but indicated that she

would be accepting a position at the Federal Public Defender’s Office soon. Attorney Pollock

argued that her continued representation of Defendant Gonzales would constitute a conflict of

interest because the Federal Public Defender’s Office represented Defendant Gonzales’s co-

defendant, Noe Sanchez. This court granted that motion to withdraw on July 25, 2012, and CJA

counsel Bruce Ratcliffe was appointed to represent Defendant Gonzales. On November 6, 2012,

AFPD Peter Henderson filed a notice that he was substituting for AFPD John Taylor.

          On February 25, 2013, motions were filed to substitute Attorney Michael J. Thompson

for both AFPD Peter Henderson and CJA counsel Bruce Ratcliffe. Those motions were granted,

permitting Attorney Thompson to represent both Defendant Sanchez and Defendant Gonzales.

          On March 1, 2013, AUSA Elham Peirson filed a Notice of Conflict of Interest and




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Request for a Hearing. On March 25, 2013, Defendants Sanchez and Gonzales filed their

Response. On March 28, 2013, a hearing was held regarding the Notice of Conflict.



                                              Analysis

       The Sixth Amendment guarantees every criminal defendant the right to effective

assistance of counsel. Strickland v. Washington, 466 U.S. 668 (1984). “Requiring or permitting a

single attorney to represent codefendants, often referred to as joint representation, is not per se

violative of constitutional guarantees of effective assistance of counsel.” Holloway v. Arkansas,

435 U.S. 475, 482 (1978). However, “the essential aim of the Amendment is to guarantee an

effective advocate for each criminal defendant rather than to ensure that a defendant will

inexorably be represented by the lawyer whom he prefers.” Wheat v. United States, 486 U.S.

153, 159 (1988). Thus, while there is a Sixth Amendment presumption in favor of a defendant’s

counsel of choice, the right to choose one’s own counsel is not absolute, and, thus, the

presumption may be overcome. Id. at 158-59, 164. Specifically, “a defendant’s choice of counsel

may be overridden and counsel may be disqualified where an actual conflict of interest or a

serious potential for conflict exists.” United States v. Turner, 651 F.3d 743, 749 (7th Cir. 2011)

(“Turner I”). “[P]rejudice is presumed if the petitioner establishes both that his counsel had an

actual conflict and that the conflict had an adverse effect on counsel’s performance.” Hall v.

United States, 371 F.3d 969, 973 (7th Cir. 2004) (editing marks omitted). Thus, there must be

both an actual conflict of interest and an adverse effect on the lawyer’s performance. Stoia v.

United States, 22 F.3d 766, 770 (7th Cir. 1994). In situations of joint representation, the mere

possibility that either defendant will cooperate with the Government against the other does not

amount to an actual conflict, nor is it, without more, a serious potential conflict justifying the




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disqualification of either defendant’s counsel of choice. United States v. Turner, 594 F.3d 946,

953 (7th Cir. 2010) (“Turner II”).

        Alternately, a conflict that amounts to a breach of the code of professional ethics

“obviously qualifies” as an actual conflict of interest of the sort that allows the trial court to

disqualify counsel regardless of a defendant’s offer to waive. Turner I, 651 F.3d at 749. The

Illinois Supreme Court rules addressing this situation are as follows:

            (a) Except as provided in paragraph (b), a lawyer shall not represent a client if
            the representation involves a concurrent conflict of interest. A concurrent
            conflict of interest exists if:

                (1) the representation of one client will be directly adverse to another
                client; or

                (2) there is a significant risk that the representation of one or more clients
                will be materially limited by the lawyer’s responsibilities to another client,
                a former client or a third person or by a personal interest of the lawyer.

            (b) Notwithstanding the existence of a concurrent conflict of interest under
            paragraph (a), a lawyer may represent a client if:

                (1) the lawyer reasonably believes that the lawyer will be able to provide
                competent and diligent representation to each affected client;

                (2) the representation is not prohibited by law;

                (3) the representation does not involve the assertion of a claim by one
                client against another client represented by the lawyer in the same
                litigation or other proceeding before a tribunal; and

                (4) each affected client gives informed consent.

Illinois Rules of Professional Conduct, Rule 1.7.

        Therefore, because an actual conflict with an adverse effect has not developed, it would

be premature to disqualify Attorney Thompson. Examples of actual conflicts that might arise

here would be, among others, if: (1) one defendant has affirmatively chosen to cooperate with

the Government against the other, with a plea agreement requiring testimony against his co-



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defendant;1 or (2) both defendants have chosen to go to trial as co-defendants in the same trial,

with the likely possibility that statements of one defendant will be used to exculpate himself

while inculpating his co-defendants;2 or (3) one co-defendant was encouraged not to testify

because it would be harmful for the other;3 (4) or defense counsel chose a less effective defense

strategy than had he represented only one defendant.4,5 None of those scenarios has been

presented at this stage of the proceedings.

              This scenario creates, to some degree, an unusual dilemma.6 If both co-defendants choose

to hold out and not cooperate with the Government, they may jointly have a lowered combined

attorney’s fee, although they both give up the benefit of a plea bargain and acceptance of

responsibility. But if one defects and cooperates with the Government, he may gain the benefits

of a plea bargain, and his personal responsibility for attorney’s fees may decrease as he has a

reduced need for extensive additional counsel. And if both cooperate with the Government, both

retain the benefits of cooperation, both have reduced attorney’s fees, but both also give up the

opportunity for trial. It appears that both co-defendants participating in a cooperation agreement

results in the most efficient outcome, with the loss of a trial the only casualty. This means that if

one party defects and cooperates, the other party is under great pressure to also cooperate.

              Similarly, on the other side of the table, the attorney himself has an incentive to either

discourage both co-defendants from defecting or encourage both to cooperate, since as long as

one and only one co-defendant defects, the attorney will no longer be permitted to represent both

defendants, and his fee will be commensurately lowered.

              Whenever joint representation occurs, Federal Rule of Criminal Procedure 44(c) requires

1
  E.g., Gonzales v. Mize, 565 F.3d 373, 384 (7th Cir. 2009).
2
  E.g., U. S. ex rel. Williams v. Franzen, 687 F.2d 944, 949 (7th Cir. 1982).
3
  E.g., Castillo v. United States, 34 F.3d 443, 446 (7th Cir. 1994).
4
  E.g., Griffin v. McVicar, 84 F.3d 880, 888 (7th Cir. 1996).
5 See generally Allan L. Schwartz, Circumstances giving rise to conflict of interest between or among criminal codefendants precluding representation by same counsel, 34 A.L.R.3d 470.
6
    See http://en.wikipedia.org/wiki/Prisoner's_dilemma.


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the court to promptly inquire about the propriety of that representation. In a prior hearing held on

March 28, 2013, this court heard argument from AUSA Elham Peirson and from defense counsel

Attorney Michael Thompson. Following that argument, this court now finds that the Government

has not provided any facts suggesting there will be an actual conflict of interest from the joint

representation at this time.

       Rule 44(c) further requires this court to personally advise both defendants of the right to

the effective assistance of counsel, including separate representation. A hearing is scheduled for

May 3, 2013, at 9:00am, during which the court will advise both defendants. Accordingly,

because any finding of an actual conflict of interest and adverse effect is premature, and the

potential for a conflict may never ripen into an actual conflict, this court finds that there is no

reason, at this time, to enter any orders relative to the joint representation of Defendants Sanchez

and Gonzales. Further, because the potential of a conflict of interest is readily apparent, this

court finds that the Government’s Notice of Conflict was not frivolous and expressly permits the

Government the opportunity to file a second or successive Notice of Conflict, or a Motion to

Disqualify or Sever Trial should the facts ripen into an actual conflict of interest causing an

adverse effect on the representation of either defendant.




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IT IS THEREFORE ORDERED THAT:

     (1) The Government’s Request for a Hearing is GRANTED.

     (2) A hearing is scheduled for May 3, 2013, at 9:00am, during which this court

     will advise both defendants of the right to the effective assistance of counsel,

     including separate representation.

                    ENTERED this 5th day of April, 2013


                          s/ Michael P. McCuskey


                         MICHAEL P. McCUSKEY
                          U. S. DISTRICT JUDGE




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